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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
________________________________________________

UNITED STATES OF AMERICA,
                                            Plaintiff,

                                                                   Case #14-CR-6136-FPG
       v.
                                                                   DECISION AND ORDER

COLIN MONTAGUE, et al.,
                                    Defendants.
________________________________________________


                                      INTRODUCTION

       On December 9, 2014, the federal grand jury returned a second superseding indictment in

this matter, charging fifteen individuals and one corporation with various offenses relating to

narcotics trafficking and money laundering. ECF No. 55. All pretrial matters were referred to

Magistrate Judge Jonathan W. Feldman (“Judge Feldman”) pursuant to 28 U.S.C. § 636(b).

       On May 17, 2016, Judge Feldman issued a Decision and Order regarding the

government’s discovery obligations under Rules 12(b)(4) and 16 of the Federal Rules of

Criminal Procedure. ECF No. 253. The government has requested district court review of that

decision. See ECF No. 297. Defendant Colin Montague has responded to the government’s

appeal and also moved for—among other related relief—a finding that the government failed to

comply with the terms of Judge Feldman’s order. See ECF Nos. 419, 420. For the reasons stated

below, Judge Feldman’s decision is affirmed and Montague’s request for relief is denied.

                                       BACKGROUND

       Judge Feldman found that although the government had acted in good faith in meeting its

discovery obligations, the volume of electronically stored information (“ESI”) turned over to

defense counsel requires that more be done to ensure the equitable administration of justice in

this case. ECF No. 253, at 4. He also found that “[a]t this point in the prosecution, there is no
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reason why the government should not be able to identify what evidence it intends to present at

trial and provide that evidence to the remaining defendants in a manner and format that levels the

ESI ‘playing field.’” Id. at 5 (citing United States v. Anderson, 416 F. Supp. 2d 110, 113-15

(D.D.C. 2006)). Accordingly, Judge Feldman ordered the government to do the following within

60 days:

       1. with respect to video surveillance evidence the government intends to use in its case-

           in-chief, provide defense counsel with an annotation that identifies which defendants

           appear on camera at any given time;

       2. with respect to audio recordings the government intends to use in its case-in-chief,

           provide defense counsel with a written annotation identifying whose voice is heard on

           each recording, the date and time of the conversation, and the phone numbers and

           subscribers of all telephones used in each conversation; and

       3. specifically identify the documentary evidence and other materials that will appear on

           the government’s exhibit list at trial.

Id. at 5-8. In addition, to the extent the government intends to use any transcripts of recorded

conversations at trial, Judge Feldman ordered the government to provide those transcripts to

defense counsel at least 60 days before the beginning of jury selection. Id. at 6.

       After Judge Feldman issued his Decision and Order, the government asked for and

received four extensions of time to file a memorandum of law in support of its appeal. See ECF

Nos. 258, 270, 278, 291. On September 7, 2016, the government timely filed that memorandum.

ECF No. 297. The government argues that this Court should reverse Judge Feldman’s order

because (1) it needlessly compels the government to prepare for trial before a trial date has been

scheduled; and (2) it imposes discovery obligations on the government that “far exceed” those

set forth in Rules 12(b)(4) and 16 of the Federal Rules of Criminal Procedure.


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       Subsequently, Montague filed a response to the government’s appeal. ECF No. 419.

Montague also filed a motion in which he seeks (1) a finding that the government has failed to

comply with the terms of Judge Feldman’s order; (2) an order precluding the government from

presenting evidence at trial due to its noncompliance; and (3) an order dismissing the indictment

against Montague with prejudice. ECF No. 420.

                                      LEGAL STANDARD

       This Court reviews Judge Feldman’s May 17, 2016 Decision and Order to determine

whether it was clearly erroneous or contrary to law. See 28 U.S.C. § 636(b)(1)(A). “A finding is

clearly erroneous when, although there is evidence to support it, the reviewing court on the entire

evidence is left with the definite and firm conviction that a mistake has been committed.”

American Stock Exchange, LLC v. Mopex, Inc., 215 F.R.D. 87, 90 (S.D.N.Y. 2002) (quoting

Derthick v. Bassett–Walker Inc., Nos. 90-cv-5427, 90-cv-7479, 90-cv-3845, 1992 WL 249951, at

*8 (S.D.N.Y. Sept. 23, 1992)) (internal quotations omitted). “Pursuant to this highly deferential

standard of review, magistrate judges are afforded broad discretion in resolving non-dispositive

disputes and reversal is appropriate only if their discretion is abused.” Id.

                                          DISCUSSION

       This Court finds that Judge Feldman’s Decision and Order is neither clearly erroneous

nor contrary to law and that the government’s arguments are unpersuasive. At the same time,

Montague’s assertion that the government has “failed to comply” with Judge Feldman’s order is

unavailing and his request for relief is without merit.

       First, the Court is not persuaded that it would be premature or unduly burdensome to

compel the government to identify the evidence it intends to use in its case-in-chief. Regardless

of whether that argument would have had more force at the time Judge Feldman issued his

Decision and Order, it has now been more than two and a half years since the grand jury returned


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the second superseding indictment. Although a trial has not yet been scheduled, the government

recently indicated that it would move to set a trial date as soon as the instant discovery issue is

resolved. While the burden placed on the government to identify the evidence it intends to use in

its case-in-chief and annotate surveillance recordings is not trivial, that cost is less significant at

this stage of the litigation—where the prospect of a trial is on the horizon and the government

will necessarily be engaging in its own trial preparations. Further, the Court agrees with Judge

Feldman that requiring the government to provide discovery in a manageable format is necessary

to level the ESI playing field given the voluminous and somewhat complex nature of the

discovery in this case.

       Second, Judge Feldman’s order does not impermissibly expand the government’s

discovery obligations beyond those outlined in the Federal Rules of Criminal Procedure. Upon a

defendant’s request, Rule 16 requires the government to disclose “relevant” recorded statements

by the defendant as well as documents and objects that the government intends to use in its case-

in-chief at trial. See Fed. R. Crim. P. 16(a)(1)(B)(i), 16(a)(1)(E)(ii). Rule 12 allows defendants

to request notice of the government’s intent to use such evidence “[a]t the arraignment or as soon

afterward as practicable.” See Fed. R. Crim. P. 12(b)(4)(B). Rule 16 also gives courts the

discretion to regulate discovery in criminal cases. See Fed. R. Crim. P. 16(d) (“At any time the

court may, for good cause, deny, restrict, or defer discovery or inspection, or grant other

appropriate relief.”). Judge Feldman cited ample authority for his finding that the government’s

disclosures in this case, while made in good faith, were not sufficient to satisfy its obligations

under Rules 12 and 16. See ECF No. 253 at 2-3 (citing United States v. Quinones, No. 13-83,

2015 WL 6696484, at *2 (W.D.N.Y. Nov. 2, 2015); United States v. Briggs, No. 10-184, 2011

WL 4017886, at *8 (W.D.N.Y. Sept. 8, 2011); United States v. de la Cruz-Paulino, 61 F.3d 986,




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993 (1st Cir. 1995); Anderson, 416 F. Supp. 2d at 112 n.1; United States v. Rickets, No. 15-153,

2015 WL 9478136, at *3 (E.D. La. Dec. 29, 2015)).

       Citing United States v. Koschtschuk, No. 09-96, 2010 WL 584018 (W.D.N.Y. Feb. 16,

2010) and United States v. Barret, 824 F. Supp. 2d 419 (E.D.N.Y. 2011), the government argues

that compliance with Judge Feldman’s order would require the government to reveal its trial

strategy and disclose its work product. The Court disagrees. Judge Feldman’s order simply

requires the government to disclose the evidence it intends to use in its case-in-chief and, with

respect to that evidence, provide certain written annotations to aid defense counsel in sorting

through voluminous discovery material. Importantly, Judge Feldman’s order does not require

the government to disclose the manner or context in which any evidence will be used at trial; any

of the arguments the government intends to make to the jury; or the government’s position

regarding the relative significance of the different evidence it intends to use or the conclusions

that can be drawn from such evidence. Therefore, Judge Feldman’s Decision and Order is

affirmed.

       Although this Court affirms Judge Feldman’s Decision and Order, it does not follow that

the government has “failed to comply” with that order or that Montague is entitled to the relief

he seeks. Before filing its appeal, the government asked for and received extensions of time to

do so. See ECF Nos. 258, 270, 278, 291. Neither Montague nor any other defendant objected to

those extensions of time. Montague now argues that he has been prejudiced by the delay, but he

offers only vague and conclusory statements in support of that assertion. See, e.g., ECF No. 420-

1, at ¶¶ 5, 10A-E. In fact, as detailed in its memorandum of law, the government has made

considerable efforts to address Judge Feldman’s concerns and provide its disclosure in a

manageable format even as it argued that Judge Feldman’s order should not be upheld. See ECF

No. 297, at 9-12. Even if the government had failed to comply with Judge Feldman’s order in


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some respect, there is no basis in the record to conclude that the extreme relief Montague has

requested—namely, dismissing the indictment or precluding the government from introducing

evidence at trial—would be appropriate. Therefore, Montague’s request for relief is denied.

                                       CONCLUSION

       For the reasons stated above, Judge Feldman’s May 17, 2016 Decision and Order (ECF

No. 253) is AFFIRMED.        Montague’s motion for miscellaneous relief (ECF No. 420) is

DENIED. The government shall comply with the terms of Judge Feldman’s Decision and Order

within 60 days.



       IT IS SO ORDERED.

Dated: August 24, 2017
       Rochester, New York


                                            ______________________________________
                                            HON. FRANK P. GERACI, JR.
                                            Chief Judge
                                            United States District Court




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